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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 Barbara Dean Stinnett,                         ) Judge Eric Tostrud
                                                ) Magistrate Judge David T. Schultz
                Plaintiff,                      ) CASE NO. 0:22-cv-00418-ECT-DTS
                                                )
        v.                                      )
                                                )      NOTICE OF SETTLEMENT
 Trans Union LLC, Experian Information          )      WITH EXPERIAN ONLY
 Solutions, Inc., Equifax Information Services, )
 LLC,                                           )
                                                )
                Defendants.                     )
                                                )
                                                )
       PLEASE BE ADVISED that the above-named Plaintiff and Defendant Experian

Information Solutions, Inc., (“Experian”) have settled all asserted claims between them. This

notice applies to Experian ONLY. The Plaintiff will file a Stipulation of Dismissal as soon as the

settlement documents have been executed, which the Plaintiff anticipates will take approximately

two weeks.


Dated: March 4, 2022                       MADGETT LAW

                                           /s/David Madgett
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00730-Stinnett
